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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                           Plaintiff,        )          CRIMINAL ACTION
                                             )
v.                                           )          No.   12-10089-22-MLB
                                             )
HERNAN QUEZADA,                              )
                                             )
                           Defendant.        )
                                             )

                              MEMORANDUM AND ORDER
         This case comes before the court on the government’s motion to
revoke the magistrate’s order of release. (Doc. 172). The court held
an evidentiary hearing on May 23, 2012.                  The government’s motion is
denied and Magistrate Judge Kenneth Gale’s order granting bond is
affirmed, with conditions, for the reasons herein.
                               Procedural History
         On April 16, 2012, pursuant to 18 U.S.C. § 1959(a)(5), defendant
was    indited   on    a   single   count    of     a    violent   crime    in   aid   of
racketeering.      Charges stemming from the same conduct are currently
pending in Ford County, Kansas.              Defendant is presently in state
custody on a Ford County $50,000 bond.                  On May 22, 2012, Magistrate
Judge Gale held a detention hearing in this case.                      The government
moved for detention pursuant to 18 U.S.C. § 3142(e). Magistrate Judge
Gale denied the government's motion, but stayed the Order of Release
for twenty-four hours.         That same day, Magistrate Judge Gale issued
an order setting forth the conditions for defendant's release and the
government moved to revoke the magistrate’s order.                    This court held
an evidentiary hearing on May 23.            Both the government and defendant
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made certain proffers during the hearing.


                               Legal Standard
      Pursuant to 18 U.S.C. § 3145(a)(1), the government may seek
review of a magistrate judge's order of release. The district court's
review of a magistrate judge's order of release is de novo.                      United
States v. Cisneros, 328 F.3d 610, 616 n. 1 (10th Cir. 2003).                       A de
novo evidentiary hearing, however, is not required.                     The district
court may either “start from scratch” and take relevant evidence or
incorporate the record of the proceedings conducted by the magistrate
judge including the exhibits admitted.             United States v. Torres, 929
F.2d 291, 292 (7th Cir. 1991).            The Federal Rules of Evidence do not
apply to detention hearings.         See 18 U.S.C. § 3142(f).           The Court may
allow the parties to present information by proffer or it may insist
on direct testimony.       See id.
      Under the Bail Reform Act of 1984, the court must order a
defendant's pretrial release, with or without conditions, unless it
“finds that no condition or combination of conditions will reasonably
assure the appearance of the person as required and the safety of any
other person and the community.”           18 U.S.C. § 3142(e). In making this
determination,   the   court       must    take   into    account      the     available
information concerning
      (1) The nature and circumstances of the offense charged,
      including whether the offense is a crime of violence ...
      or involves a minor victim or a controlled substance,
      firearm, explosive, or destructive device;
      (2) the weight of the evidence against the person;
      (3) the history        and     characteristics       of    the   person,
      including-

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           (A) the person's character, physical and mental
       condition, family ties, employment, financial resources,
       length of residence in the community, community ties,
       past conduct, history relating to drug or alcohol abuse,
       criminal history, and record concerning appearance at
       court proceedings; and
           (B) whether, at the time of the current offense or
       arrest, the person was on probation, on parole, or on
       other release pending trial, sentencing, appeal, or
       completion of sentence for an offense under Federal,
       State, or local law; and
       (4) the nature and seriousness of the danger to any
       person or the community that would be posed by the
       person's release.
18 U.S.C. § 3142(g).
       The Bail Reform Act also provides a rebuttable presumption of
risk of flight or danger to the community when a defendant is charged
with an offense under section 924(c) of title 18 of the United States
Code. See 18 U.S.C. § 3142(e). “A grand jury indictment provides the
probable cause required by the statute to trigger the presumption.”
United States v. Carlos, 777 F. Supp. 858, 860 (D. Kan. 1991)(citing
United States v. Quartermaine, 913 F.2d 910, 916 (11th Cir. 1990)).
The   grand   jury   indictment   in   this       case   charges     defendant   with
possession and discharging a firearm in furtherance of a crime of
violence, and thus raises the rebuttable presumptions of risk of
flight and danger to the community.           Id.
       The    burden   of   production       on    defendant    to    overcome   the
presumption is not a heavy one, but defendant must produce some
evidence.      Stricklin, 932 F.2d at 1354-55.                 Even if defendant
overcomes the presumption, the presumption remains a factor in the
Court's detention decision. Id. The burden of proof remains with the
government to show that no condition or combination of conditions

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would reasonably assure the accused's presence in later proceedings
and/or the safety of other persons and the community.            United States
v. Lutz, 207 F. Supp.2d 1247, 1251 (D. Kan. 2002)(burden of persuasion
regarding risk of flight and danger to community always remains with
government). The government must prove dangerousness to any other
person or the community by clear and convincing evidence.                Id. at
1252.
                                 Analysis
A. Nature And Circumstances Of The Offense
        During the hearing, the government informed the court that the
racketeering count charged is a violent crime, thereby triggering the
rebuttable presumption for detention.       This factor favors detention.
B. Weight Of The Evidence
        During the hearing, the government proffered evidence of events
which occurred on February 5, 2012, in Dodge City, Kansas. The
government contends that defendant had a beer bottle and broke it over
the head of Reyes Bocanegra.        Bocanegra and his brother provided
assistance to the government with its investigation of the Nortenos
gang.    The government asserts that defendant is a member of the
Nortenos gang and that the assault was performed with the intention
of intimidating witnesses.
        This factor therefore favors detention.
C. History And Characteristics Of Defendant
        Defendant is not married and has been unemployed since 2010.
Most of defendant's family reside in Wichita, Kansas.             If released,
defendant will live with his parents in Wichita.           Defendant’s father
would assist defendant in obtaining a construction job upon release.

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Defendant is a United States citizen and has been living in Dodge City
for approximately ten years.
      Defendant has a criminal record.           However, the majority of
defendant’s charges were ultimately dismissed.              Defendant’s past
convictions include an aggravated battery, possession of marijuana and
disorderly conduct.    Defendant was sentenced to probation but it was
revoked after he failed to appear for a hearing.           Defendant was then
sentenced to four months in prison. Defendant’s current state charges
stem from the assault which is the subject of this indictment.
      Defendant's family ties to Kansas suggest that he is not a
flight risk.
D. Danger To The Community
      Before releasing defendant on any set of conditions, the Court
must be satisfied that defendant will not pose a danger to any other
person or to the community.    See 18 U.S.C. § 3142(b).        The government
has not met its burden to show by clear and convincing evidence that
defendant would pose a risk of physical danger to the community.
      Turning to defendant’s criminal history, the court finds that
the criminal charges are not significant.        With the exception of the
current charge, defendant’s criminal history all occurred while he was
a juvenile.    While defendant’s current charges are serious in nature,
the court believes that restricting defendant to Sedgwick County will
alleviate the risk that defendant come into contact with the victim
and other witnesses in the Dodge City area.
                                Conclusion
      Based upon the evidence proffered at the hearing and the record
before the court, the court finds that defendant has met his burden

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to rebut the presumption that there are no conditions of release which
will ensure the safety of the community.               In order to satisfy the
court that defendant will return for further proceedings in this case,
defendant must post a surety bond with the clerk’s office in the
amount    of   $50,000   as   an   additional      condition     of    his    release.
Defendant must reside in Wichita with his parents and may not travel
outside of the Sedgwick County area unless he is scheduled for a court
appearance in Ford County.          Prior to any hearing in Ford County,
defendant must inform the probation officer of his travel plans.                    All
other requirements set forth in Magistrate Gale’s order setting
conditions of release must also be complied with.
         The government’s motion is accordingly denied.               (Doc. 172).    It
is ordered that defendant be released pending trial on the conditions
set forth above.


         IT IS SO ORDERED.
         Dated this 23rd       day of May 2012, at Wichita, Kansas.


                                             s/ Monti Belot
                                             Monti L. Belot
                                             UNITED STATES DISTRICT JUDGE




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